                   Case: 25-1592
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                                            APPEALS  1   Date
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                                                              THIRD 04/11/2025
                                                                      CIRCUIT

                                                     No. 25-1592

                        Atlas Data Privacy Corporation, et al.   vs. Spy Dialer, Inc.

                                                 ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 Spy Dialer, Inc.

Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)                 ✔ Appellant(s)
                                           ____                                 ____ Intervenor(s)

         ____ Respondent(s)                ____ Appellee(s)                     ____ Amicus Curiae

(Type or Print) Counsel’s Name Timothy  M. Ortolani, Esq.
                               ________________________________________________________________
                                    ✔ Mr.
                                  ____        ____ Ms.    ____ Mrs. ____ Miss ____ Mx.

Firm Kaufman Dolowich LLP

Address 25 Main Street, Suite 500

City, State, Zip Code     Hackensack, NJ 07601


Phone (201) 708-8244                                                    Fax (201) 488-6652

Primary E-Mail Address (required) tortolani@kaufmandolowich.com
Additional E-Mail Address (1) tortolani@kdvlaw.com
Additional E-Mail Address (2)
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SIGNATURE OF COUNSEL: /s/ Timothy M. Ortolani

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waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
